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                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                               Eastern Division

UNITED STATES OF AMERICA
                                        Plaintiff,
v.                                                      Case No.: 1:18−cr−00681
                                                        Honorable Virginia M. Kendall
Michael Abramson
                                        Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, February 1, 2023:


        MINUTE entry before the Honorable Virginia M. Kendall as to Michael
Abramson. Jury trial held on 2/1/2023 and continued for 2/2/2023 at 9:15 AM. Mailed
notice (lk, )




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